UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

DRESSER-RAND COMPANY,
                                                           Docket No.: 1: 19-cv-002689-LLS
                        Plaintiff,
                                                           Letter of Request for
            -against-                                      International Judicial
                                                           Assistance, pursuant to the
PETROLEOS DE VENEZUELA, S.A. and                           Hague Convention of 18 March
PDVSA PETROLEO, S.A.,                                      1970 on the Taking of Evidence
                                                           Abroad in Civil or Commercial
                        Defendants.                        Matters, to Dinosaur Merchant
                                                           Bank Ltd.

        The United States District Court for the Southern District of New York presents its
compliments to the United Kingdom and the Senior Master of the Royal Courts of Justice and
requests international judicial assistance to obtain evidence to be used in a civil proceeding
currently pending in the United States.

        The Court has reviewed the particular requests for evidence and has concluded that they
are directed to issues that the Court will address in the above-captioned action. The assistance
requested herein is therefore necessary and in the interests of justice.

1. Sender                               Honorable Louis L. Stanton
                                        U.S. District Court for the Southern District of New
                                        York
                                        500 Pearl Street
                                        New York, New York 10007
                                        United States of America

2. Central Authority of the Requested    The Senior Master of the Royal Courts of Justice
   State                                 Strand
                                         London WC2A 2 LL
                                         United Kingdom

3. Person to whom the executed           Dennis H. Tracey, Robin L. Muir
   request is to be returned             Hogan Lovells US LLP
                                         390 Madison A venue
                                         New York, New York 10017
                                         United States

4. Name and address of person from       Dinosaur Merchant Bank Ltd. ("DMBL")
   whom evidence is sought               48-54 Moorgate
                                         London EC2R 6EJ
                                         United Kingdom
5. Specification of the date by which    September 18, 2020, or as soon as practicable
   the requesting authority requires
   receipt of the response to the Letter
   of Request

In conformity with Article 3 of the Convention, the undersigned applicant has the honor to
submit the following request:

6. Requesting judicial authority         Honorable Louis L. Stanton
                                         U.S. District Court for the Southern District of New
                                         York
                                         500 Pearl Street
                                         New York, New York 10007
                                         United States of America

   To the competent authority of         United Kingdom

   Name of the case and identifying      Dresser-Rand Company v. Petr6leos de Venzuela,
   number                                S.A., et al.
                                         S.D.N.Y. Docket No. 1:19-cv-002689
7. Names and addresses of the            Dresser-Rand Company ("Dresser-Rand")
   plaintiff and its representatives     Jordan Siev, Geoffrey Young, Nicole Lapsatis Lech
                                         Reed Smith LLP
                                         599 Lexington Ave, 29th Floor
                                         New York, New York 10022
                                         United States

     Name and address of the             Petr6leos de Venezuela, S.A. ("PDVSA") and PDVSA
     defendant and its representatives   Petr6leo, S.A. ("Petr6leo")
                                         Dennis H. Tracey, Robin L. Muir
                                         Hogan Lovells US LLP
                                         390 Madison A venue
                                         New York, New York 10017
                                         United States

8. Nature of the proceedings and         Dresser-Rand commenced a civil action against
   summary of complaint and              PDVSA and Petr6leo for a money judgment for
   defenses                              amounts allegedly owed by PDVSA and Petr6leo
                                         pursuant to a note agreement issued by PDVSA and
                                         guaranteed by Petr6leo.

                                         Dresser-Rand alleges that it entered into a note
                                         agreement with PDVSA and Petr6leo pursuant to
                                         which PDVSA agreed to pay the amounts reflected in
                                         a corresponding note to Dresser-Rand.

                                         Dresser-Rand alleges that PDVSA made the first two


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                                         payments due under the note (due on April 20, 2017
                                         and July 20, 2017), but failed to make any payments
                                         due thereafter. Dresser-Rand claims that it is entitled
                                         to a money judgment from PDVSA and Petr6leo for
                                         the entire outstanding note balance, plus interest.

                                         PDVSA intends to establish that the sanctions that the
                                         U.S. Department of Treasury Office of Foreign Assets
                                         Control ("OFAC") imposed on the Venezuelan oil
                                         industry beginning in 2017 made it impossible or
                                         objectively impracticable for PDVSA to perform its
                                         payment obligations under the note. PDVSA
                                         attempted to make payments under the note to
                                         Dresser-Rand in 2017 and 2018 by wire transfer, but
                                         those payments were rejected by banking institutions
                                         involved in the transactions.

9. Evidence to be obtained               Documents and information described in Schedule A,
                                         attached.

   Purpose of the evidence sought        PDVSA seeks this evidence to establish its
                                         impossibility defense at trial. Specifically, PDVSA
                                         seeks evidence showing that it attempted to make the
                                         requisite payments under the note, but that DMBL, an
                                         intermediary or correspondent bank involved in one or
                                         more payment transactions, rejected or refused to
                                         process PDVSA's payments out of concern of the
                                         OFAC sanctions.

10. Documents or other property to be    See Schedule A, attached.
    inspected

11. Specification of privilege or duty   The person from whom evidence is requested may
   to refuse to give evidence under      decline to produce a requested document under any
   the law of the State of origin        applicable privilege, protection, or immunity under the
                                         laws of the United States of America. In particular, a
                                         document may be withheld if it would disclose a
                                         privileged communication between the person and the
                                         person's attorney.

12. Any special method or procedure      See Schedule A, attached.
    to be followed




                                                3
13. Fees and costs incurred which are    Dennis H. Tracey, Robin L. Muir
    reimbursable under the second        Hogan Lovells US LLP
    paragraph of Article 14 or Article   390 Madison A venue
    26 of the Convention will be borne   New York, New York 10017
    by:                                  United States

   DATE OF REQUEST
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                                         U.S. District CQ.Urt-fo   the Southern-District of New
                                         York            - ,,,      ·   ~



                                                ~·s -~-~v~
                                         Hon. Louis L. Stanton _ ·
                                         U.S.D.J.




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                                          SCHEDULE A

                                         DEFINITIONS

        1.      "DMBL," "you," or "your" refers to Dinosaur Merchant Bank Ltd., its present or

former agents, employees, representatives, or other persons acting or purporting to act for or on

its behalf.

        2.     "Dresser-Rand" refers to Dresser-Rand Company, its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

        3.     "PDVSA" refers to Petr6leos de Venezuela, S.A., its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

        4.     "Petr6leo" refers to PDVSA Petr6leo, S.A. , its present or former agents,

employees, representatives, or other persons acting for or on its behalf.

        5.     The "Account" refers to the bank account that Dresser-Rand holds with Citibank

N.A., described as follows:

               Name on Account:               DRESSER-RAND COMP ANY RECEIPTS
               Address on Account:            10205 Westheimer Road, Suite 1000
                                              Houston, TX 77042
               Citi Address:                  Citibank N.A.
                                              111 Wall St.
                                              New York, NY 10043
               National Account Number:       30591016
               ABA Routing Number:            021000089
               SWIFT Code:                    CITIUS33

         6.    The "1/31/2018 Transaction" refers to the transfer of funds described in the

confirmation document annexed hereto as Exhibit 1, a copy of which was publicly filed with the

Court by Dresser-Rand (Dkt. 57-5 at p. 3).

         7.    The "Protective Order" refers to the parties' Stipulated Confidentiality and

Protective Order annexed hereto as Exhibit 2.
                                         INSTRUCTIONS

       1.      This request is a continuing request, and to the extent that at any time after the

production of documents called for by this request, you become aware of or acquire additional
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documents responsive to this request, such documents shall be produced promptly.

       2.      A request for any document shall be deemed to include a request for all drafts

thereof and all revisions and modifications thereto in addition to the document itself.

       3.      A request for any document shall be deemed to include, in addition to the

document itself, a request for any transmittal sheets and cover letters accompanymg the

requested document, exhibits and attachments to the document, and enclosures sent with the

document.

       4.      If any document requested is not produced on the basis of an assertion of the

attorney-client privilege, work-product doctrine, or any claim of privilege or immunity, identify

each such document together with sufficient information to permit the court to make a

determination as to whether there is a proper basis for withholding such a document. In so

doing, the following information must be supplied in writing: (i) the type of document (e.g. ,

letter, memorandum or report); (ii) the general subject matter of the document; (iii) the date of

the document; (iv) the author or sender of the document; (v) the addressee or recipient of the

document; (vi) each person who received a copy of the document; (vii) the privilege asserted;

and (viii) the basis for asserting such a privilege.

        5.      If an objection to any particular portion of this request is asserted, documents

responsive to any other portion of this request as to which there is no objection must be

produced.
       6.      The documents requested should be produced as they were kept in the ordinary

course of business, and should be produced with any file folder labels in a manner that will

enable PDVSA to determine the person, database, or records from whose files each document

was obtained, or, alternatively, the documents can be labeled to correspond to the categories of

documents requested.

       7.      Electronic documents shall be produced m readily usable and searchable

electronic format.

       8.      Unless otherwise stated, each request seeks documents and information from

April 20, 2017 to the present.

                             DOCUMENTS TO BE PRODUCED

       1.      Documents sufficient to show DMBL's policies with respect to the receipt or

transfer of funds of PDVSA or Petr6leo.

       2.      All correspondence with Dresser-Rand concerning any transfer or attempted

transfer of funds by or on behalf of PDVSA or Petr6leo.

       3.      All correspondence with PDVSA or Petr6leo concerning any transfer or attempted

transfer of funds by or on behalf of PDVSA or Petr6leo .

       4.      All documents concerning the transfer or attempted transfer of funds by or on

behalf of PDVSA or Petr6leo.

        5.     All documents and correspondence concerning the 1/3l/2018 Transaction (Ex. 1).

        6.     All documents and correspondence concerning any rejection by DMBL of a

transfer of funds to the Account by or on behalf of PDVSA or Petr6leo that are not already being

produced in response to an earlier request.
EXHIBIT 1
                         Case 1:19-cv-02689-LLS Docu ment 57-5 Filed 12/23/19 Page 3 of 3
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          -·-   -~-    ,.                                                                                                                               miller et :
           UI. Stan islawa Zaryna 2A
           02-593 Warszawa
           www.bankmillennium .pl




           Transaction confirmation

           Transaction Date


           Effective Date                                                                         31/0 1/2018


           Source account                                                                         93 116022020000000332327144


           Sender                                                                                 JNFX LTD


           Destination account                                                                    30591016


           Transaction amount                                                                     1 960 212,37 USO

           Beneficiary                                                                            DRESSER RAND COMPANY RECEIPTS
                                                                                                  United States


           Transaction type                                                                       Fore ign transfe r


           Transaction description                                                                DMBL- ZUMA BANK CORPORATION// B/0 PETROLEOS DE
                                                                                                  VENEZUELA, SA// DEBT REPAYM ENT PER NOTE AGREEMENT




               Date of the document: 2018-01-31
               Con firma ti on of transaction performance was generated electronically and requires no signature or stamp.The Document was produced pursuant to art. 7 or the
               Banking Law (Journal of Laws No. 140 of 1997. item 939 as amended,)

               Bank Millennium Spolka Akcyjna with its seat in Warsaw. ul. Stanislawa Zaryna 2A, 02-593 Warszawa, reg istered in th e National Court Register kept by th e
               District Court fo r the Capi tal Ci ty of Warsaw under the number KRS 0000010186. Tax identification number (NI P) : 526-02-12-931 . Initial capital : 1 213 116
               777,00 PLN. Capital paid in : 1213116777,00 PLN. - 526-02 1-29-31 and initial capital fully paid-in in the amount of PLN 1.213.116.777.)




CONFIDENTIAL                                                                                                                                                                      DRESSER_0004250
EXHIBIT 2
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UNITED STATES DISTRICT COURT                                          DATE FILEP:--1-~.....
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                                                                                            · _6/__
SOUTHERN DISTRIC'X' OF NEW YORK

DRESSER-RAND COMPANY,                                   No. 19-cv-02689-LLS

             Plaintiff,

                V.


PETR6LEOS DE VENEZUELA, S.A. et al,

            Defendants.



            STIPULATED CONFIDENTIALITY AND PROTECTIVE ORDER

       Plaintiff Dresser-Rand Company ("Plaintiff') and Defendants Petr6l~os de Venezuela,

S.A. ("PDVSA") and PDVSA Petr6leos, S.A. ("PPSA," and together with PDVSA,

"Defendants") enter into this Confidentiality Agreement and Consent Protective Order..

1.     Agreements .  .
       a.      Plaintiff and Defendants (collectively, the "Parties," and individually, a"~"),

and non-parties will be exchanging documents and information solely in connection with the

above-captioned litigation (the "Action").

       b.      The Parties agree that all information exchanged will be used only for purposes of

this particular Action and for no other purpose.

       c.      The Parties also acknowledge that it is likely that they and non-parties will

produce in the Action information that is confidential or proprietary.

       d.      Due to the nature of this case, this Protective Order is necessary to ensure proper

and efficient conduct of the Action and to protect the Parties' and non-parties' respective

commercial interests in proprietary, marketing and commercial information. Specifically, the
            Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 2 of 16




Parties in the Action will need to request and produce information that may contain

proprietary/confidential information, commercial information, sensitive financial information,

technical information, trade secrets, or private personal information.

       e.      The disclosure of this information will likely cause the producing Party, or non-

parties from whom such information is sought, significant harm if this information is disclosed

without the conditions and protections contained herein.

       f.      The Parties agree that this Order shall apply to and govern the treatment of all

information contained in documents, deposition testimony, deposition exhibits, expert report,

interrogatory answers, responses to requests for production, responses to requests for admission,

responses to subpoenas, trial testimony, and other information or tangible thing disclosed or

produced by or on behalf of any P-arty or non-party in the Action ("Discovery Material").

       g.      The Parties and any non-parties may designate Information and Documents that

as "Confidential Information" or "Highly Confidential Information," as defined below. Any

Party or non-party so designating is a "Designating Party."

       h.      The Parties agree that this Protective Order may be shared with third-parties.

2.     Definitions.

       a.      "Confidentiaf' or "CONFIDENTIAL" information is information that that the

Designating Party believes will disclose confidential and nonpublic technical, commercial,

financial, personal or business information that would provide others with an unfair competitive

or improper advantage, including but not limited to trade secrets. Confidential Information also

means an individual's private or personal information which, if disclosed, would violate the

privacy rights of that individual.

                                                 2
            Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 3 of 16




       b.      "Highly Confidential-Attorneys' Eyes Only" or "filGHLY CONFIDENTIAL

- ATTORNEYS' EYES ONL'Y'' information is information that, if generally disclosed to the

opposing Party, the Designating Party reasonably and in good faith believes constitutes (i) trade

secrets, (ii) operating, management or other proprietary agreements, (iii) confidential business

ownership information, (iv) business financial records or projections, (v) proprietary information

and technical specifications, (vi) confidential strategic business plans and projections, (vii)

employee information, or (viii) information that is subject to an express obligation of

confidentiality owed by the Designating Party to a third-party.

       c.      "Designating Party" means the party producing or designating information as

Confidential or Highly Confidential under this Stipulated Protective Order.

       d.      "Receiving Party" means any party to whom Confidential or Highly Confidential

information is produced.

       e.      "Outside Expert" means an expert who is retained to assist counsel for the Parties

in connection with the Action.

3.     Designation as "Confidential" or "Highly Confidential."

       a.      All Confidential or Highly Confidential Discovery Material in the form of

physical objects or documents shall be .designated by stamping or affixing on the face of each

document and on each page or portion thereof one of the following two legends: "Confidential"

or "Highly Confidential - Attorneys' Eyes Only" (in either lower case or upper case letters) or

by designating the material as Confidential or as Highly Confidential - Attorneys' Eyes Only in

accompanying correspondence, emails, or similar transmissions.



                                                 3
             Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 4 of 16




       b.        All Confidential or Highly Confidential Discovery Material in the form of

software or digital material stored on an electronic storage device shall be designated by affixing

either a "Confidential" or "Highly Confidential - Attorneys' Eyes Only" legend on the device

itself, by electronically stamping one of these legends on each page or portion thereof, or by

designating the material as Confidential or as Highly Confidential - Attorneys' Eyes Only in

accompanying correspondence, emails, or similar transmissions.

       c.        Testimony given at a deposition or hearing, the resulting transcript, and its

exhibits may be designated as Confidential or Highly Confidential within thirty (30) days after

receipt of a copy of the final transcript by advising the opposing Party and the stenographer in

writing that the testimony in entirety or portions thereof are Confidential or Highly Confidential.

If only a portion of the testimony contains Confidential or Highly Confidential Information, the

Designating Party shall inform the opposing Party and the stenographer in writing of the specific

page and line numbers designated as Confidential or Highly Confidential. Pages of transcribed

testimony or exhibits designated as Confidential or Highly Confidential shall be separately

bound by the stenographer. All copies of deposition transcripts that contain information or

material designated as Confidential Discovery Material shall be marked "Confidential" or

"Highly Confidential - Attorneys' Eyes Only" on the cover. All depositions shall be treated as

Highly Confidential Discovery Material until the expiration of the time to designate the

deposition as Confidential or Highly Confidential, as appropriate.

        d.       Any deposition videotape containing Confidential or Highly Confidential

Information shall be marked on the cover "Confidential" or "Highly Confidential - Attorneys'



                                                 4
            Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 5 of 16




Eyes Only," as appropriate, and shall indicate as appropriate within the videotape that the

Discovery Material therein has been so designated.

       e.        In the event any Designating Party produces Confidential or Highly Confidential

information that has not been correctly designated, the Designating Party may redesignate the

information to the same extent as it may have designated the information before production, by a

subsequent notice in writing specifically identifying the redesignated information. The Parties

shall treat such information in accordance with this Stipulated Protective Order, and shall

undertake reasonable efforts to correct any disclosure of such information contrary to the

redesignation. No proof of error, inadvertence, or excusable neglect shall be required for such

redesignation.

       f.        A Designating Party who has designated information as Confidential or Highly

Confidential may withdraw the designation by written notification to all Parties.

4.     Use and Disclosure of Confidential and Highly Confidential Information.

       a.        Until or unless the Court rules otherwise, material marked or otherwise designated

as Confidential and Highly Confidential shall be maintained in strict confidence by the

Receiving Parties under the terms set forth below.

       b.        Confidential Information may only be disclosed to:

                 1.     Officers, directors, employees or consultants of the Receiving Party as part
                        of their assistance with preparing, prosecuting or trying the Action, but
                        only to the extent necessary to allow them to provide that assistance;

                 ii.    Outside counsel for the respective Parties, including their clerical,
                        litigation support and paralegal employees;

                 iii.   Outside Experts;


                                                  5
     Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 6 of 16




        1v.     Any witness or his or her counsel in preparation for a deposition or
                otherwise testifying in any proceeding, who shall be provided prior to or at
                the outset of the deposition, hearing or trial with a copy of the Stipulated
                Protective Order on record. In such instance, the witness shall be bound by
                the provisions of the Stipulated Protective Order and shall be informed
                that the witness is bound by its tenns . Neither a witness nor his or her
                counsel shall be permitted to retain a copy of Confidential materials unless
                otherwise permitted by the terms of this Stipulated Protective Order;

        v.      The court reporter, stenographer or video recorder operator retained by
                any Party to record a deposition or court hearing;

        vi.     Any outside copy services or litigation support services whose function
                necessitates access to material designated as Confidential or Highly
                Confidential under this Protective Order;

        vn.     The Court, its personnel, officers, court stenographers, and any other
                person designated by the court in the interest of justice, upon such terms as
                the court may deem proper;

        viii.   Any mediator(s), arbitrator(s), or special master(s) attempting to assist in
                resolving or adjudicating all or any portion of this matter, provided that:
                (a) the mediator(s), arbitrator(s), or special master(s) are appointed by the
                Court or all parties agree in writing that the mediator(s), arbitrator(s), or
                special master(s) may serve in that capacity; and

         ix.    The in-house counsel of any Party - and as to Defendants, the Special
                Attorney General of Venezuela and his staff - involved in management or
                oversight of the Action.

         x.     The list of persons to whom Confidential information may be disclosed
                may be expanded or modified by mutual agreement in writing by counsel
                for the Parties to this Action without the necessity of modifying this
                Stipulated Protective Order.

c.       Highly Confidential Information may only be disclosed to:

         i.     Outside counsel (see 4(b)(ii));

         11.    Outside Experts (see 4(b)(iii));

         iii.   Court reporters, stenographers or video recorders (see 4(b)(v));

         1v.    Any outside copy services or litigation support services (see 4(b)(vi));

                                           6
             Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 7 of 16




                v.      The Court, its personnel and those persons designated by the Court to
                        view Highly Confidential Information (see 4(b)(vii));

                v1.     Any mediator(s), arbitrator(s), or special master(s) appointed by the Court
                        or agreed to by the Parties (see 4(b)(viii));

                vu.     The in-house counsel of any Party - and as to Defendants, the Special
                        Attorney General of Venezuela and his staff- involved in management or
                        oversight of the Action; and

                v111.   Any person who, based on the face of the Highly Confidential document,
                        as established through specific documentary or testimonial evidence or as
                        agreed to by the Designating Party, authored or previously received a copy
                        of said document.

                ix.     The list of persons to whom Highly Confidential information may be
                        disclosed may be expanded or modified by mutual agreement in writing
                        by counsel for the Parties to this Action without the necessity of
                        modifying this Stipulated Protective Order.

       d.       A Party may not disclose information designated by another Party as Confidential

or Highly Confidential to persons allowed to view such materials under Sections 4(b)(iii), (iv) &

(x) and Sections 4(c)(ii), (viii) & (ix) until that person has signed and agreed to the provisions set

forth in Appendix A to this Order.        Counsel for the Party providing such access shall be

responsible for obtaining and maintaining the signed agreement.

        e.       A Party may not disclose information designated by another Party as Confidential

or Highly Confidential to any mediator(s), arbitrator(s), or special master(s) appointed by the

Court or agreed to by the Parties (as described in Section 4(b)(viii) and Section 4(c)(vi)) until

that person has signed and agreed to the provisions set forth in Appendix A to this Order or the

substantial equivalent thereof. Counsel for the Party providing such access shall be responsible

for obtaining and maintaining the signed agreement.




                                                  7
             Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 8 of 16




       f.       Any Party may disclose its own Confidential or Highly Confidential information

in any manner.

       g.       A Party who wishes to disclose information designated as Confidential or Highly

Confidential by another Party to a person not authorized by this Order to receive it must first

make a reasonable attempt to obtain the Designating Party's permission. If the Party is unable to

obtain permission, it may move the Court to obtain permission.

5.     No Waiver of Privileges.
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       The,{roduction of any information claimed to be subject to the attorney-client privilege,

the work-product doctrine, or any other privilege is not a waiver of that privilege or protection

and the Parties agree there is no need to demonstrate that the disclosure was inadvertent or that

reasonable steps were taken to prevent such disclosure. If, during the course of the Action, a

Designating Party produces a document or any other piece of information that the Designating

Party thereafter claims to be privileged or protected, the Designating Party may give notice to the

Receiving Party in writing, and the Parties agree that the document or information will be

returned to the Designating Party, and all copies, notes, quotations or summaries thereof will be

destroyed within five (5) days.     This Order shall be interpreted to provide the maximum

protection allowed by Federal Rule of Evidence 502(d).

6.     Disputes over Designation(s).

        a.       If a Party disputes a Designating Party's designation of Discovery Material as

Confidential or Highly Confidential, the Party shall notify the Designating Party in writing of the

basis for the dispute (the "Objection"), identifying the specific Discovery Materials and

designations which are disputed and proposing a new designation for such Materials. The

                                                 8
             Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 9 of 16




objecting Party and the Designating Party shall then meet and confer to attempt to resolve the

Objection without involvement of the Court.

        b.      If the Parties cannot resolve the Objection within fourteen ( 14) days of when the

·objection was served on the Designating Party, the objecting Party may then file a motion to re-

designate the Discovery Materials in dispute. The Designating Party bears the burden of proving

that the Discovery Materials are properly designated as Confidential or Highly Confidential. The

Discovery Materials shall remain subject to the Designating Party's Confidential or Highly

Confidential designation until the Court rules on the dispute.

        c.      If the Party challenging the designation of the Discovery Materials does not file a

motion challenging the designation of the Discovery Materials, the designated Materials shall

continue to be subject to Confidential or Highly Confidential treatment as provided in this Order.

        d.       A Designating Party's designation of Discovery Materials as Confidential or

Highly Confidential or a Party's failure to contest a designation of information as Confidential or

Highly Confidential is not an admission that the information was properly designated, is not

determinative of whether such Discovery Materials are entitled to be deemed as such.

7.      Use of Confidential Material in Pleadings or at Hearing.

        a.       Except as agreed in writing by counsel, to the extent that any Confidential or

Highly Confidential Discovery Material is quoted, attached to, or substantially paraphrased in

 any pleading, motion, memorandum, appendix, or other judicial filing in the Action, counsel

 shall make a good faith effort to file such submission under seal. Court administrators are

 directed to maintain the confidentiality of all Discovery Material that have been designated, in



                                                 9
            Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 10 of 16




whole or in part, as Confidential or Highly Confidential, by any Designating Party, consistent

with the sealing requirements of the court.

       b.       When any Discovery Material designated as Confidential or Highly Confidential

is filed with the court under seal, the filing Party shall the same day email a copy of all materials

so filed to counsel of record for the opposing Party.

       c.       Discovery Materials designated as Confidential or Highly Confidential may be

offered into evidence at trial or hearing on preliminary injunction, however, the Parties agree to

jointly petition the Court to establish procedures to protect such Discovery Materials at trial or

hearing before any such trial or hearing is begun.

8.     Reasonable Precautions and Storage.

       Counsel for each Party shall take reasonable precautions to prevent unauthorized or

inadvertent disclosure of any designated Discovery Material. If the Receiving Party learns of any

improper disclosure of designated Discovery Material, the Party's counsel shall attempt to obtain

all copies of the disclosed Material and shall inform the Designating Party promptly of the

disclosure and the circumstances surrounding the disclosure, but no later than three (3) business

days after discovery of such disclosure.        Confidential and Highly Confidential Discovery

Material subject to the terms of this Order shall, when not in use, be stored in such a manner that

persons not in the employment or service of those possessing such Confidential Discovery

Material will be unlikely to obtain access to it.

9.      Document Disposal.

        Except as otherwise agreed in writing by the Parties, upon final termination of the Action

(including all appeals), the Designating Party may demand that the Receiving Parties destroy all

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              Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 11 of 16




     Confidential or Highly Confidential information designated by the Designating Party within 60

     (sixty) days of the demand. Counsel may retain one archival copy of all pleadings, motion

     papers, trial, deposition and hearing transcripts, deposition and trial exhibits, legal memoranda,

     correspondence, document productions, expert reports, attorney work product, and consultant

     and expert work product, even if such materials contain Confidential or Highly Confidential

     information.   Any such archival copies that contain Confidential or Highly Confidential

     information shall remain subject to this Order.

     10.    Provision of Legal Advice.

            This Order shall not bar any attorney herein in the course of rendering advice to his or her

     client with respect to this litigation from conveying to any Party client an evaluation in a general

     way of Confidential or Highly Confidential Discovery Material produced or exchanged herein;

     provided, however, that in rendering such advice and otherwise communicating with the client,

     the attorney shall not disclose the specific contents, directly or indirectly, of any Confidential or

     Highly Confidential Discovery Material produced herein, which disclosure would be contrary to

     the terms of this Order.

     11.     Joinder of Parties.

             This Order shall be binding upon any party joined in the Action unless and until the

     Court, pursuant to a request by the joined party or on its own accord, orders that the joined party

     is not subject to the terms of the Order.

     12.     Survival of Obligations.

             This Order shall remain in full force and effect after the termination of this Action, or

     until canceled or otherwise modified by Order of this Court.

                                                       11
         Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 12 of 16




13.    No Waiver.

       Nothing in this Order prevents a Party from disclosing its own documents and

information as it sees fit.   Any use or discussion of Confidential or Highly Confidential

Discovery Material shall not be deemed a waiver of the terms of this Order.

14.    Production of Information Pursuant to Process.

       If Confidential or Highly Confidential Discovery Material in the possession, custody, or

control of a Receiving Party is sought by subpoena, request for production of documents,

interrogatories, or any other form of discovery request or compulsory process, including any

form of discovery request or compulsory process of any court, administrative or legislative body,

or any other person or tribunal purporting to have opportunity to seek such information by

compulsory process or discovery request, including private parties, the Receiving Party to whom

the process or discovery request is directed shall promptly give written notice of such process or

discovery request together with a copy thereof, to counsel for the Designating Party so that the

Designating Party has reasonable opportunity to challenge or oppose the request. The

Designating Party may move against the subpoena or other process, or oppose entry of any order

by a court of competent jurisdiction compelling production of the Confidential or Highly

Confidential Discovery Material, or take any other lawful action to challenge or oppose the

request. If the Designating Party objects or moves against the subpoena or other process, the

Party receiving the subpoena or process shall not produce Confidential or Highly Confidential

Discovery Material before the actual due date for compliance, and shall not object to or interfere

with any effort by the Designating Party to seek a prompt judicial determination of the

Designating Party's motion or objection before compliance is required.

                                                12
         Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 13 of 16




15.    Violations.

       In the event that anyone shall violate or threaten to violate the terms of this Protective

Order, the Parties agree that the aggrieved Party may immediately apply to a court of proper

jurisdiction to obtain injunctive relief against any such person violating or threatening to violate

any terms of this Protective Order.

16.    Not an Admission.

       Nothing in this Order or done by a Party pursuant to this Order shall constitute an

admission by the Party, or shall be used as evidence, that information designated as Confidential

or Confidential -     Attorneys' Eyes Only is actually confidential Discovery Material.

Furthermore, nothing contained herein shall preclude the Parties or a person from raising any

available objection, or seeking any available protection with respect to any confidential

Discovery Material, including but not limited to the grounds of admissibility of evidence,

materiality, trial preparation materials and privilege.

17.     Modifications.

         By written agreement of the Parties, or upon motion and order of the Court, the terms of

this Protective Order may be amended or modified.




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         Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19                       Page 14 of 16




Stipulated and agreed to on September 25, 2019 by:



REED SMITH LLP                                  HOGAN LOVELLS US LLP

By:    Isl Jordan W. Siev                       By:     Isl Dennis H. Tracey
       Jordan W. Siev                                   Dennis H. Tracey, III
       Geoffrey G. Young
       Nicole Lech

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New York, NY 10022                              New York, NY 10017
Tel. (212) 521-5400                             Tel. (212) 918-3000
Fax. (212) 521-5450                             Fax. (212) 918-3100

Counsel for.Plaintiff                           Counsel for Defendants




SO ORDERED, this        ar'1iday of     &f~2019. :
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         Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 15 of 16



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

DRESSER-RAND COMPANY,                                    No. 19-cv-02689-LLS

             Plaintiff,

                v.

PETR6LEOS DE VENEZUELA, S.A. et al,

            Defendants.



       I hereby affirm that:

       1.      Select materials containing information designated as "Confidential" or "Highly

Confidential - Attorneys' Eyes Only" as defined in the Stipulated Confidentiality and Protective

Order (the "Order") may be provided to me in connection with this litigation.

       2.      I have been given a copy of and have read the Order.

       3.      I am familiar with the terms of the Order and I agree to comply with and to be

bound by the terms thereof.

       4.      I submit to the jurisdiction of this Court for enforcement of the Order.

       5.      I agree not to use any "Confidential" or "Highly Confidential - Attorneys' Eyes

Only" information disclosed to me pursuant to the Order except for any purpose other than to

provide assistance or review of the above-captioned litigation or settlement thereof, and I agr~e

not to disclose any such "Confidential" or "Highly Confidential - Attorneys' Eyes Only"

information to persons other than those specifically authorized by said Order, without the express

written consent of the Party who designated such information as being confidential or by order of

this Court. I also agree to notify any stenographic, clerical, or technical personnel who are

required to assist me of the terms of said Order.
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                  Case 1:19-cv-02689-LLS Document 41 Filed 09/26/19 Page 16 of 16



             6.       I understand that I am to retain all documents or materials designated as

    "Confidential" or "Highly Confidential - Attorneys' Eyes Only" information in a secure manner,

    and that all such documents and materials are to remain in my personal custody until the

    completion of my assigned duties in his matter, whereupon all such documents and materials,

    including all copies thereof, and any writings prepared by me containing any "Confidential" or

    "Highly Confidential - Attorneys' Eyes Only" information are to be returned to counsel who

    provided me with such documents and materials.

    Dated:                                   By:,_ _ _ _ _ _ _ _ _ _ _ _ _ __
             --------
                                             Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                              Title: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                              Company: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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